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AO 91 (Rev. 02109) Criminal Complaint




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                                                                                              DEO         20rZ


                                             Westem District of New


                          United States of America

                                        v.                                                 ,r-
                                                                             case No.
                                                                                                 ry'C'//fr
                         THOMAS TRAFICANTE,

                                                  Defendant



                                               CRIMINAL COMPLAINT

          I, BARRY W. COUCH, the complainant in this case, state that the following is true to the best of my
knowledge and belief that in the Western District of New York, the defendant violated offenses described as follows:

        Beginning in or about October 20L7 thtou;gh December 2017, in the Westem District of New York
and elsewhere, the defendant, THOMAS TRAFICANTE, did knowingly with the intent to kdl, injure,
harass, intimidate, or place under surveillance with intent to kill, injure, harass, or intimidate another
person, used the mail, any interactive computer service or electronic communication service or elecffonic
communication system of interstate commerce, or any other facility of interstate or foreign commerce to
erlgage in a course of conduct thatplaced that person in reasonable fear of death or serious bodily injury or
caused, attempted to cause, or would be reasonably expected to have caused substantial emotional distress
to a person, in violation of Title 18, United States Code, Section 2261(A); did knowingly transmit in
interstate or foreign commerce any communication containing any threat to injure the person of another, in
violation of Title 18, United States Code, Section 875(c); and did possess with intent to distribute and
distributed cocaine, a Schedule II controlled substance in violation of Title 21, United States Code, Section
8a1(a).

SEE   ATTACIIED AFFIDAYIT OF SPECIAL AGENT BARRY W. COUCH, FBI.
          This Criminal Complaint is based on these facts:

          tr   Continued on the attached sheet.



                                                              sA BARRY W. COUCH (FBr)
                                                                                 Printed name and title
Sworn to before me and signed in my presence.

Date:      December 14 .2017                                          fn^'*r,R*,r-
                                                                                JrdCrb   tlC*t"*
                                                              HONORABLE MARIAN W. PAYSON
City and State: Rochester, New York                           UNITED STATES MAGISTRATE JUDGE
                                                                               Printed name and title
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                                                                                  /?-fr?'q/5i
               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT



STATEOFNEWYORK                  )
couNTY oF MONROE                )        ss:
CITY OF ROCHESTER               )




       I, Barry W.    Couch, having been first duly swom, do hereby depose and state                as


follows:


          1.    I am a Special Agent with the Federal Bureau of Investigation, and have          been

so for approximately nine years.               I   am currently assigned to investigations involving

computs related crimes,    as   well   as other     criminal investigations.


       2.       This affidavit is submitted for the limited purpose of establishing probable

cause to believe that THOMAS TRAFICANTE, born xxlxx /1994, did knowingly with the

intent to kill, injure, harass, intimidate, or place under surveillance with intent to kill, injure,

harass,    or intimidate another person, used the mail, any interactive computer service or

elecffonic communication service               or   elecffonic communication system     of   interstate

commerce, or any other facility of interstate or foreign commerce to engage in a course              of

conduct that placed that person in reasonable fear of death or serious bodily injury or

caused, attempted to cause, or would be reasonably expected to have caused substantial

emotional disffess to a person, in violation of Title 18, United States Code, Section 2261(A);

did knowingly transmit in interstate or foreign commerce any communication containing

any tkxeat to injure the person of another, in violation of Title 18, United States Code,
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Section 875(c); and did possess with intent to distribute and distributed cocaine, a Schedule

II conffolled   substance in violation of Title 2L,United States Code, Section 841(a).



       3.        The information contained in this afftdavit is based upon my personal

knowledge and observation, my training and experience, conversations with other law

enforcement officers and wiuresses, and the review of documents and records. Because this

affidavit is being submitted for the limited purpose of securing a criminal complaint, I have

not included every fact known to me concerning this investigation. I have set forth only the

facts that I believe are necessary to establish probable cause *rat THOMAS TRAFICANTE

did knowingly violate Title 18, United States Code, Sections 2261(A) and 875(c).


       4.        On October 31,2017 , a certain university in the Western District of New York

received an anonymous complaint from someone using the email account "anonymous

(university name)@protonmail.com". The complainant stated he was aware that a certain

student (VICTIM) at the university was purchasing illegal drugs believed to be cocaine

through the internet and having them shipped soon to the VICTIM to the VICTIM's

university mail   box.   The university was on alert for a possible shipment of illegal drugs to

the VICTIM's mail        box. On November 2, 2017,        university staff observed   a   package

delivered to the VICTIM's mail box and alerted the university police. University police and

the local County Sheriffs Office inspected the package, delivered through *re United States

Postal Service, and determined        it   contained 1.4 grams   of cocaine. University    police

interviewed the VICTIM and she denied knowledge of the cocaine being mailed. With

consent from the VICTIM, university police searched the VICTIM's residential room and
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found no evidence of cocaine or cocaine paraphemalia. When questioned, the VICTIM

stated she had recently broken up with her boyfriend, THOMAS TRAFICANTE, and the

break-up was not amicable. The VICTIM stated TRAFICANTE had hacked her social

media accounts in the past and was controlling. The VICTIM said she had changed all her

passwords to her online accounts because of fear of retribution from TRAFICANTE. The

VICTIM stated TRAFICANTE was the only person other than her family members that

knew what her university mailing address was, as he had sent her multiple boxes of flowers

and small gifts.




       5.      The VICTIM explained how she had met TRAFICANTE on an online dating

application in May of 20L7. She said TRAFICANTE lived in Seaford, New York, which is

close to the town the   VICTIM resides at with her family when not attending the university.

The VICTIM dated TRAFICANTE throughout the Summer months, and stated in July he

took her to a shootingrange, as he has a rifle. The VICTIM said that TRAFICANTE had

shared with her that he had done some bad things      in order to get even with people. The

VICTIM provided a copy of a texting conversation between herself and TRAFICANTE

while they were dattng where TRAFICANTE confided in the VICTIM and said he had

posted someone's information on a prostitution site andthat person received many phone

calls and texts from random males looking for a "hooker". TRAFICANTE follows up in the

texting conversation with "Welllllll   it won't   happen UNLESS you do some shit that      I
strongly disagree with And you'd probably be harder to manipulate than most people but    it
probably wouldn't be TOO difficult.", soon followed by, "Well you wouldn'tbe able to tell
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if I was manipulating you That's the point of manipulation It's secretly getting someone to

do something you want them to do".



       6.          The texting conversation provided by the victim also had TRAFICANTE

confiding to the VICTIM he had used drugs stating, "To me, acid helped pull me out of the

worst time of my like emotionally. After it helped,              I   kept doing it and   it   started doing bad

things to me. So     I   stopped.   It   can be good,   it can bebad life* Yeah I'm way different after

doing different psychedelic drugs.", soon followed by,                  "I explored   many different drugs,

mostly in search of happiness. Didn't find              it   anywhere. Got myself to the edge of being

addicted       to cocaine. Definitely don't wanna go back and do that Cocaine "hangovers"
(AKA withdrawals) come with the WORST depression you've ever felt in your entire life".



       7   .       The VICTIM stated that at the end of July              2017   , she noticed her Snapchat
(Intemet based application) was being logged out. She said Snapchat only works on one

device at a time, so       if   someone logs into her account on another phone,                 it   logs out the

account on her phone. The VICTIM said at the beginning of August 2017, she was texting

TRAFICANTE and he was "rarrting" to her about his ideas and opinions of birth control.

The VICTIM said she did not agree with what he was saying, screenshoffed some of his text

messages, and sent them           to her four best friends on GroupMe (an intemet based phone

application allowing messaging to a group). Later that evening, TRAFICANTE texted her,

"(VICTIM's name) ya know I've been thinking, and don't take this the wrong way: based on

how I know you are so far, I have an unbelievably strong feeling that you were either talking

behind my back or sending screenshots (or both) to your friends during our discussion
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yesterday.    I'm concluding this based off of the fact that you've done this to other people
(sending screenshots to me), and the fact that you were clearly bothered by me yesterday."

The VICTIM stated that near the end of August 2017, she got a message on her phone

saying there was suspicious activity from Los Angeles. She said she took a screen shot of the

message, sent       it to TRAFICANTE,        and asked him      if he knew anything   about   it.   The

VICTIM provided the text       messages where she         told TRAFICANTE someone ffied signing

into one of her accounts from Los Angeles. TRAFICANTE responded, "Hahahahaha

GOOD! Remember when you said you wanted me to test you and try to hack into your

account? Like in early July!?*   I didn't forget So I figured I have exffa time rn, might as well

test her You passed!" The VICTIM responded, "You're not                 in Los Angeles", to which

TRAFICANTE responded,            "I   used     a VPN". The VICTIM said at the beginning of
Septernber 2017, she had notes on her cell phone that listed guys she had kissed. In a phone

conversation with TRAFICANTE, he brought the list up to the VICTIM and told her some

of the guys on the list, saying he guessed them. The VICTIM provided text messages from

later   in   September between herself and TRAFICANTE where TRAFICANTE tries to

convince her to give him her email account password, and other messages about stalking her

and gatherrng data on her. TRAFICANTE states, "So I assume you'd be upset if I happened

to gain access to somethingthatbelongs to you, correct? Lmao". The VICTIM soon states,

"I'm not giving you my passwords". TRAFICANTE responds, "I would be able to get in

without, but youd very clearly know that          I   got in", soon followed by, "I just obsess over

things that    I   get stuck in my head.   I   get anxious over   it ya know?",   and then, "Alright

pulling the trigger on this", and then, "Pulling the trigger on something means you'te going

to go through with it". The VICTIM               responds, "What are you going through wi11".

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TRAFICANTE responds, "The severe stalking Or really not stalkingbttya know But it was

a   joke obviously", soon followed by, "It's not actually stalking, it'dbe 10 min of gathering

simple data..stalking was the wrong word to use. And it's not that                I want to do it, it's the
only way      I know of to settle my mind so I know firsthand              what is and is not the ffuth."

TRAITICANITE soon states that when he is not able to prove something it causes "friction"

in his brarn. TRAFICANTE then states, "When I get this "friction" the only way to fix it,

realTy, is   to be able to prove or disprove whatever it is", soon followed by, "Basically, not

supe(   hard,I could prob get into your email without knowing your password (but you'd
have to change     it   afterwards bc     it requires me to change it in the first place). Then, all I'd

have to look for are emails from like venom or like WhatsApp or groupme or Facebook or

literally anything that would prove or disprove my theory. Within 10 min max my mind

would be settled    1o1.   However, I understand why that is a no-no and why you wouldn't want

me to do that. It's an invasion of privacy and it is what it is". The VICTIM said in October

2017, TRAFICANTE admitted to hacking in the past where he states in a text message she

provided, "Maybe           I   shouldn't have told you that     I   used   to hack and still have      some

knowledge on      it...I did it for money (and a few favors *rat I         can recall) ." Later in October,

the VICTIM said TRAFICANTE screenshot her physical location, sent                          it to her, and
questioned where she was.




         8.      The VICTIM stated that on October 26, 2017, she broke up with
TRAFICANTE, and on               Octobe   r 30, 2017, TRAFICANTE           tried to get back together with

the VICTIM but she refused. The VICTIM provided copies of the text messages between

herself and TRAFICANTE that reflect this.              At one point, TRAFICANTE             states,   "if you
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wind up dropping out, changing to an easier major that you can deal with, or ffansferring

somewhere closer-would you consider?" The VICTIM responds, "Yes sure But             I'm not
doing *rat But sure". TRAFICANTE responds with, "You wouldn't? What happens if you

have no choice?"




       9.     The VICTIM stated that on October 3I,2017, TRAFICANTE texted (the

VICTIM provided a copy of the text message), "My mom just woke me up bc she was in my

room snooping around (bc she's concerned about me i guess) and she found my BB gun and

FLIPPED because she thought it was arcalgun and I guess thought I was gonna try to kill

myself (even though she knows about my actllal real gun)".




       10.    The VICTIM said on November L,2017, she was logged out of her Snapchat

account. She asked her roommate to see where Snapchat showed her being physically

located. The roommate checked and      it   showed the VICTIM as being in Wantagh Long

Island at a Starbucks. The VICTIM's roommate confirmed to university police this

occurence and stated the VICTIM was physically sitting next to her there at their university

residence   at the time. The VICTIM said she was           aware, due   to them dating, of
TRAFICANTE always going to that Starbucks. The VICTIM provided the Snapchar

location screenshots. The VICTIM confronted TRAFICANTE over text messaging and told

him to stop and that she did not want to talk to him anymore. The VICTIM then rold

TRAFICANTE she was blocking him on all her accounts except text and if he continued

talking to her, she would block his number from texting too.
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          11.    On November 8,2017, university staffobserved the VICTIM received another

 suspicious looking package in the mail and notified university police. University police and

 the New York State Police inspected the package and determined         it    contained the drug

 MDMA, a methamphetamine. The VICTIM stated              she was not expecting    a   package and

 suspected TRAFICANTE        of sending it, that he had sent her that   message asking her      if
 anything happened at school that would make her come back home if she would date him

 again.




          12.   On November 10, 2017, the university police were noffied by               several

members of the sorority the VICTIM is a member           of of a suspicious   text message they
received, that rcad, "its not safe out there tonight (name of sorority)". The text message

came from phone number 585-376-1093. On November 11,2017, the university police were

notified of another text message sent to the students from the same phone number thatread,

"dad you all mostly took my advice last night. but moving it forward one nlght doesn,t

make (name of sorority) or their dates any safer.   i   mean no harm, im not the threat, but

harm is coming." IJniversity police determined through an open intemet lookup that the

phone number appeared to be a "Pinger/Bandwidth.com" phone number, one that
                                                                            was not

a cellular phone number but one generated by an ontine service. Several of the students

expressed being scared and afraid due to the text messages and,that    it was disturbing their
daily lives and studies.



          13.   On November 16,2017, the VICTIM reported she believed TRAFICANTE

had posted her contact information on a prostitution website. The
                                                                  VICTIM explained since
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 5:35   AM that morning she had received approximately sixty calls, texts and Facetime calls
 from random numbers al7 wanting to have sex with her. The VICTIM                     believed

 TRAFICANTE was responsible due to what he had told her about doing something similar

 to another person in the past. University police located a prostitution advertisement on
 Backpage.com listing the VICTIM's contact phone number. That same day, the VICTIM

 notified university police of another advertisement for her on companionreviews.com. In     a

 subpoena return, Backpage.com provided the information on the Backpage.com prostitution

advertisement of the VICTIM that the individual posting the advertisement used the email

account "k(VICTIM name)exo@protonmail.com,,.




         14.    On November 17,2017, another student reported to university police he had a

telephone conversation with the person who had left the threatening texts. The student said

the person seemed to be using a voice changer application. The student reported the person

said he did not necessarily want to do what he was doing, but "his brain was telling him
                                                                                         to,,.

The student said the person told him he had been "wronged" by members in the Greek

community and that he needs revenge. The student reported the person told him he had

divorced parents, deals with anxiety, has a ffust issue, and has an ex-girlfriend in the Greek

community. The student said the person told him the person's ex-girlfriend is in the first

sorority that he threatened. The person claimed to want to inflict mental and emotional

harm. The person told the student he knew he was not acting rationally and that he was

prescribed Xanax. The student said the person talked a lot about
                                                                 his brain. On November
17, 2017, another student received a text message from the same number
                                                                       that read., ,,im
excited for the wedding" and "hope you don't wear anything *rat
                                                                can stain,,. On November
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 17   , 2017 , another student reported communicating with the same number the messages were

 coming from via text where the person threatened to do "somethin g" thatcoming Saturday,

 that his plans were "years in the making" andthathe sought out help but his mindset cannot

 be changed.




          15.    On November 18, 2017, another student had a texting conversation with the

person using the suspect phone number. The person stated,            "i   mentioned that a possible

outcome       of my actions could be death. its in the hands of each individual really           to
determine. what     if that   means death by cop? not follow police orders and getting shot?,,,

soon followedby, "my goal is to create the most amount of turmoil and parn within greek

life at (name of school)", then, "there are various people among different orgs who have hurt

me. my plan is to hurt them.", *ten, "the only thing that helps is revenge. or at least the

feeling of satisfaction that    it brings me.", then, "but I   break sometimes. this is my worst

break.", then, "i have caused properry damage. mostly that. directed atthe people who i feel

broke me", arrd then,   "i certainly   have feelings that make me want to cause harm to myself

or others."




         16.     On November 19,2017, the VICTIM gave a statement to university police

that she has told her ex-boyfriend, TRAFICANTE, several times to not contact her

anymore, but that he has continued         to text her on November 4ft, November          11fr, and

November l6h and she did not respond. The VICTIM stated she was going home to
                                                                              the
Long Island area and she was scared TRAFICANTE would try to contact
                                                                    her.



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           17.   On November 20, 2017, the university police were notified of another text

 message sent from the same suspect number that read,     "i   gave   you a present tonight along

 with a few others. some whose numbers i dont even have. soon will be the ones who live

 closer to the school. hope you are enjoying your break as much as i am.,,




        18.      On November 20, 2017, university staff observed the VICTIM received

 another suspicious looking package in the mail and notified university police. University

police and the New York State Police inspected the package and determined           it   contained
cocaine.




       19.       On November 20,2017, the VICTIM's stepfather reported to Nassau County

Police Department that he observed the driver's side front window of the VICTIM,s vehicle

being broken. The VICTIM's vehicle was at her parents' home because the VICTIM,s

mother had flown to see the VICTIM at the university due to the stalking activity the

VICTIM was experiencing, and the mother had chosen to drive the VICTIM's vehicle back

to their fumily residence rather than fly. The VICTIM's stepfather then observed a hole in

the front window of the family residence consistent with ttrat of being caused by a BB gun

and a small gold BB gun pellet resting on the windowsill. He had last seen his vehicle
                                                                                       the
previous evening at approximately 8:00 PM without any damage, and then
                                                                       observed the

damage that moming at approximately 7:15      AM. The VICTIM's          stepfather made Nassau

County Police aware of the situation occurring with the VICTIM atthe university.
                                                                                 Later
that evening, the VICTIM's stepfather reported to Nassau County police
                                                                       he observed video
surveillance footage from a neighbor's residence that showed a small
                                                                     sedan drive by his

                                             ll
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 residence     at 3:35 AM that moming and that the vehicle fit the description of
 TRAFICANTE's vehicle. Nassau County Police observed the video and did agree that the

vehicle   fit the description of TRAFICANTE's vehicle, a        2016 Black Mazda 3 four-door

sedan.




         20.     On November 21, 2017, Nassau County Police interviewed TRAFICANTE

at his 3911    fuftur Ave N, Seaford, New York      11783 residence and he denied involvement

in the broken windows at the VICTIM's residence and the threatening           messages through

any websites. TRAFICANTE shared wi*r the police he was seeing a therapist due to the

break up with the VICTIM. Nassau County police advised TRAFICANTE to not contact

the VICTIM in any way.




         21.    On November 25,2017, the student referenced above tnparagraph 16 above

reported to university police he received the following text message from the same suspect

number: "notiff who ever you need to. i am done. i took time to think about everything you

said to me. you helped. thank you.    i hope you had a great thanksgiving. i am thankful for
you and your help. i am sorry to you and to every one affected. i will live with this guilt for a

while but im moving forward and bettering myself. i hope to cross paths with you at school

some time. if not..have a wonderful life".




         22.    On Decembet 2, 2017, the VICTIM, and several other students, received a

text message from the same suspect number that stated, "youre al7 crazy if you think im
                                                                                        not



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 stifl out there". The VICTIM received this message on a new phone of hers with a newly

 established phone number.




         23.     On December 2,2017, university police were notified of a voicemail received

 by the sorority members that stated, "I'm in the house". Local police searched the sorority

 members' house and reported the sorority members were extremely concemed
                                                                          and scared
 for their safety.



        24.      On December 5,2077, some of the students reported to university police they

believed they found the connection between the different members thathadreceived
                                                                                 the text

messages. They reported      the sorority uses the "Group Me" application to ensure all
members have a safe ride home on the weekends. It was realized, that alTof the girls
                                                                                     that had
posted their numbers to this application had received the text messages.
                                                                         They said someone
would have to be able to log in to the application account to gain access to the posted

numbers.




        25.     On December 5, 2017, the VICTIM reported to university police she had been

experiencing suspicious activity on a website she uses to take chemistry tests. She
                                                                                    noticed
that qvizzes she needed to take had been submitted as completed before she had
                                                                               taken them
resulting in zeros. She originally thought   it   was a problem with the website but then the

email address used to log in was changed.




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        26.       On December 1,2017, university police received a subpoena response from

 Pinger regarding avarTable data on the 585-37 6-1093 number. Pinger revealed the number

 was established on November 10, 20L7, from IP address 96.250.16.165. pinger provided           Ip
 logs showing the 96.250.L6.165IP address was also uttlized by the number on November

 17,2017. The IP logs also revealed the numbet vttTizedanother IP address on November 11,

 2017, that according to the American Registry for Intemet Numbers
                                                                        ,   appearsto resolve back

 to a certain Starbucks in Melville, New York. Melville, New York, is approximately            15

miles from Seaford, New York.




        27   .   On December 12, 20t7, university police received a subpoena response from

Verizon revealing that IP address 96.250.76.165 was assigned           to    3911   Arthur Ave N
Seaford, New York 11783 on November 10, 2017, at the time the 585-376-1093 pinger

number was created.




       28.       On December 13, 2017, the VICTIM's mother reported to the university

police that the VICTIM had received        a   package at their family residence. The package

contained a book titled,   "I AM V/ATCHING YOU". The book apparently is a recently
released fiction novel that has stalking and the sending of threatening letters in its
                                                                                       storyline.

The book was shipped from Amazon and was purchased through the VICTIM,s Amazon

account she has not used in several years.




       29.       On December 15, 2017, the VICTIM received a matled package at the
university containing 3.5 grams of marijuana.

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       Based upon the foregoing, your affiant respectfully submits that there is probable

cause to believe that THOMAS TRAFICANTE has violated           Title 18, United States Code,
Sections 2261(A) and 875(c); and   ritle 2r,nnited.srates code, Secrion   ga1(a).




                                                        Y W. COUCH, Special Agent
                                                  Federal Bureau of Investigation



Swom to before me this
 11 day of December 2017.


HON. MARIAN V/. PAYSON
United States Magistrate Judge




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